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11                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
12

13                                                    :
     BERNARD STERN, derivatively on behalf            :   Civil Action No.
14   of SUNPOWER CORPORATION,                         :
                                                      :
15                                       Plaintiff,   :   VERIFIED SHAREHOLDER
                                                      :   DERIVATIVE COMPLAINT FOR
16   v.                                                   BREACH OF FIDUCIARY DUTIES AND
                                                      :
17                                                    :   UNJUST ENRICHMENT
                                                      :
     THOMAS H. WERNER, CHARLES D.
18                                                    :
     BOYNTON, ARNAUD CHAPERON,
                                                      :
19   BERNARD CLÉMENT, DENIS                               DEMAND FOR JURY TRIAL
                                                      :
     GIORNO, DANIEL LAURÉ,
                                                      :
20   CATHERINE A. LESJAK, THOMAS R.
                                                      :
     MCDANIEL, HUMBERT DE WENDEL
21                                                    :
     and PAT WOOD III,
                                                      :
22                                 Defendants,        :
                                                      :
23                                                    :
     and
                                                      :
24
     SUNPOWER CORPORATION,                            :
25                                                    :
                           Nominal Defendant.         :
26                                                    :
                                                      :
27

28
          VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT FOR BREACH OF FIDUCIARY DUTIES AND
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 1         1.      Plaintiff Bernard Stern (“Plaintiff”), by and through his undersigned attorneys, hereby

 2 submits this Verified Shareholder Derivative Complaint for Breach of Fiduciary Duties and Unjust

 3 Enrichment (the “Complaint”) for the benefit of nominal defendant SunPower Corporation

 4 (“SunPower” or the “Company”) against certain current and/or former members of its Board of

 5 Directors (the “Board”) and executive officers, seeking to remedy defendants’ breaches of fiduciary

 6 duties and unjust enrichment from at least February 2016 through the present (the “Relevant Period”).

 7                                    NATURE OF THE ACTION

 8         2.      According to its public filings, SunPower is an energy company that delivers solar

 9 solutions to residential, commercial, and power plant customers.           The Company’s offerings

10 purportedly include: solar module technology and solar power systems that are designed to generate

11 electricity over a system life typically exceeding 25 years; integrated Smart Energy software

12 solutions; installation, construction, and ongoing maintenance, and monitoring services; and

13 financing solutions that provide customers a variety of options for purchasing or leasing solar

14 products.

15         3.      On April 28, 2011, SunPower and Total Energies Nouvelles Activités USA, SAS,

16 formerly known as Total Gas & Power USA, SAS (“Total”), a subsidiary of Total S.A. (“Total S.A.”),

17 entered into the Tender Offer Agreement, pursuant to which, on June 21, 2011, Total purchased

18 approximately 60% of SunPower’s then-outstanding shares of common stock for a total cost of
19 approximately $1.4 billion (the “Tender Offer”). Total has owned at least 50% of SunPower common

20 stock since that time.

21         4.      Specifically, according to SunPower’s Proxy Statement filed with the United States

22 Securities and Exchange Commission (“SEC”) on March 17, 2016 (the “2016 Proxy”), Total owns

23 64.23% of SunPower common stock. As such, Total is SunPower’s controlling stockholder.

24         5.      On August 9, 2016, Defendants (defined herein) caused the Company to issue a press

25 release announcing its second quarter 2016 financial results. Therein, Defendants disclosed the

26 existence of several factors negatively impacting the Company’s performance, including “customers
27 adopting a longer-term timeline for project completion,” “aggressive [Power Purchase Agreement

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 1 (“PPA”)] pricing by new market entrants,” and “continued market disruption in the YieldCo

 2 environment.” Defendants also announced a manufacturing realignment, which Defendants stated

 3 would result in restructuring charges totaling $30-$45 million, a substantial portion of which would

 4 be incurred in the third quarter of 2016. Finally, Defendants caused the Company to disclose that, as

 5 a result of these “challenges,” it was substantially decreasing its fiscal year 2016 guidance – expecting

 6 a net loss of $175 million to $125 million, rather than the earlier-forecasted net income of $0 to $50

 7 million.

 8          6.      Accordingly, during the Relevant Period, Defendants made or caused the Company to

 9 make materially false and/or misleading statements, as well as failed to disclose material adverse facts

10 about the Company’s business, operations, and prospects. Specifically, Defendants made false and/or

11 misleading statements and/or failed to disclose: (1) that under their direction and on their watch a

12 substantial number of the Company’s customers were adopting a longer-term timeline for project

13 completion; (2) that the Company’s near-term economic returns were deteriorating due to aggressive

14 PPA pricing by new market entrants; (3) that market disruption in the YieldCo environment was

15 impacting the Company’s assumptions related to monetizing deferred profits; (4) that, as such,

16 demand for the Company’s products was significantly declining; (5) that, in response, Defendants

17 would cause the Company to implement a manufacturing realignment that would result in significant

18 restructuring charges; (6) that, as such, the Company’s fiscal year 2016 guidance (issued under
19 Defendants’ direction and on their watch) was overstated; and (7) that, as a result of the foregoing,

20 Defendants’ statements about SunPower’s business, operations, and prospects, were false and

21 misleading and/or lacked a reasonable basis.

22          7.      After the truth regarding these false and misleading statements was revealed on August

23 9, 2016, SunPower’s stock price fell $4.47 per share, or 30%, to close at $10.31 per share the next

24 day.

25          8.      Further, the price of the Company’s stock still has not recovered, and currently trades

26 below that share price.
27          9.      Thus, as a result of Defendants’ breaches and other misconduct, the Company has

28                                                    -2-
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 1 suffered damages.

 2                                     JURISDICTION AND VENUE

 3          10.     This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(2)

 4 in that Plaintiff and the Defendants are citizens of different states, and citizens of a foreign state are

 5 additional parties; and the matter in controversy exceeds $75,000.00, exclusive of interests and costs.

 6 This action is not a collusive one to confer jurisdiction on a court of the United States which it would

 7 not otherwise have.

 8          11.     Venue is proper in this district because SunPower conducts business and maintains its

 9 principal executive offices this district. Upon information and belief, one or more of the Defendants

10 resides in this district. Further, SunPower engages in numerous activities and conducts business here,

11 which had an effect in this district.

12                                              THE PARTIES

13          12.     Plaintiff is a current shareholder of SunPower and has continuously held SunPower

14 stock since 2013. Plaintiff is a citizen of Palm Beach County, Florida.

15          13.     Nominal defendant SunPower is a Delaware corporation with its principal executive

16 offices located at 77 Rio Robles, San Jose, California 95134.

17          14.     Defendant Thomas H. Werner (“Werner”) has served as the Company’s President and

18 Chief Executive Officer (“CEO”) since May 2010, as a director of the Company since June 2003, and
19 as Chairman of the Board since May 2011. Additionally, from June 2003 to April 2010, Werner

20 served as the Company’s CEO. According to the 2016 Proxy, defendant Werner is not independent.

21 Upon information and belief, defendant Werner is a citizen of California.

22          15.     Defendant Charles D. Boynton (“Boynton”) has served as the Company’s Executive

23 Vice President and Chief Financial Officer (“CFO”) since March 2012. Previously, in March 2012,

24 Boynton also served as the Company’s Acting Financial Officer. Further, from June 2010 to March

25 2012, Boynton served as the Company’s Vice President, Finance and Corporate Development. Upon

26 information and belief, defendant Boynton is a citizen of California.
27          16.     Defendant Arnaud Chaperon (“Chaperon”) has served as a director of the Company

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 1 since 2011. Defendant Chaperon currently serves as the Senior Vice President of Prospective

 2 Analysis, Institutional Relations and Communications for the New Energies division of Total S.A.

 3 Before taking this position with the New Energies division in 2007, Chaperon was the Managing

 4 Director for five years of Total E&P Qatar and country representative of the Total group, which has

 5 oil, gas and petrochemical assets and operations in the State of Qatar. Before that, he held other

 6 positions within the Total group, where he has been employed since 1980. According to the 2016

 7 Proxy, defendant Chaperon is a director designated by controlling stockholder Total, and as a result

 8 is not independent. Upon information and belief, defendant Chaperon is a citizen of France.

 9          17.    Defendant Bernard Clément (“Clément”) has served as a director of the Company

10 since 2011. Defendant Clément has served as the Senior Vice President, Business & Operations, of

11 the New Energies division of Total S.A. since July 1, 2012. Before that appointment, he was Senior

12 Vice President of Gas Assets, Technology, and Research & Development for the Gas & Power

13 division of Total S.A. since January 1, 2010. Further, from 2003 through 2009, Clément served as

14 Vice President of the Exploration & Production division of Total S.A. relative to its interests in the

15 Middle East. Before that, he held other positions within the Total group, where he has been employed

16 since 1983. According to the 2016 Proxy, defendant Clement is a director designated by controlling

17 stockholder Total, and as a result is not independent. Upon information and belief, defendant Clément

18 is a citizen of France.
19          18.    Defendant Denis Giorno (“Giorno”) has served as a director of the Company since

20 2011. Defendant Giorno served as President and CEO of Total New Energies USA from January

21 2013 until April 2016, and as Special Advisor Renewable Energies at Total S.A. from May 2016 until

22 June 2016. Additionally, from November 2011 until January 2013, he also served as President and

23 General Manager. Further, from October 2007 until October 2011, he served as the Vice President

24 of New Ventures for the Gas & Power division of Total S.A. Finally, from 2005 to 2007, Giorno was

25 Vice President, Business Development, of the Gas & Power division relative to Total’s interests in

26 Asia, South America, and Africa. Before that, he held other positions within the Total group, where
27 he had been employed since 1975. According to the 2016 Proxy, defendant Giorno is a director

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 1 designated by controlling stockholder Total, and as a result is not independent. Upon information

 2 and belief, defendant Giorno is a citizen of California.

 3          19.    Defendant Daniel Lauré (“Lauré”) has served as a director of the Company since

 4 March 11, 2016. Defendant Lauré currently serves as President and CEO of Total New Energies

 5 USA Inc. Before taking this position in March 2016, Lauré served as Senior Vice President Industrial

 6 Assets, Finance & Information Technology from 2012 through 2015. Before that, he held other

 7 positions within Total Gas & Power beginning in 2004, including Vice President, Strategy, Markets

 8 & IT, and Deputy Director, Renewable Energy, Strategy, Human Resources & Communication. Prior

 9 to those positions, Lauré held various other positions within the Total Group, where he has been

10 employed since 1988. According to the 2016 Proxy, defendant Lauré is a director designated by

11 controlling stockholder Total, and as a result is not independent. Upon information and belief,

12 defendant Lauré is a citizen of France.

13          20.    Defendant Catherine A. Lesjak (“Lesjak”) has served as a director of the Company

14 since 2013. In addition, defendant Lesjak served as a member of the Board’s Audit Committee (the

15 “Audit Committee”) during the Relevant Period. Upon information and belief, defendant Lesjak is a

16 citizen of California.

17          21.    Defendant Thomas R. McDaniel (“McDaniel”) has served as a director of the

18 Company since 2009. In addition, defendant McDaniel served as Chair of the Audit Committee
19 during the Relevant Period. Upon information and belief, defendant McDaniel is a citizen of

20 California.

21          22.    Defendant Humbert de Wendel (“de Wendel”) has served as a director of the Company

22 since 2011. Defendant de Wendel has served as the Total group Treasurer since the beginning of

23 2012. Previously, de Wendel served as the Senior Vice President of Corporate Business Development

24 for Total from 2006 to 2011. Further, from 2000 to 2006, de Wendel served as a Vice President for

25 Total, overseeing finance operations of its exploration and production subsidiaries. Before that, he

26 held other positions within the Total group, where he has been employed since 1982. According to
27 the 2016 Proxy, defendant de Wendel is a director designated by controlling stockholder Total, and

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 1 as a result is not independent. Upon information and belief, defendant de Wendel is a citizen of

 2 France.

 3           23.    Defendant Pat Wood III (“Wood”) has served as a director of the Company since 2005.

 4 In addition, defendant Wood served as a member of the Audit Committee during the Relevant Period.

 5 Upon information and belief, defendant Wood is a citizen of Texas.

 6           24.    Collectively, defendants Werner, Boynton, Chaperon, Clément, Giorno, Lauré,

 7 Lesjak, McDaniel, de Wendel, and Wood shall be referred to herein as “Defendants.”

 8           25.    Collectively, defendants Lesjak, McDaniel, and Wood shall be referred to as the

 9 “Audit Committee Defendants.”

10           26.    Collectively, defendants Chaperon, Clement, Giorno, Lauré, and de Wendel shall be

11 referred to as the “Total Defendants.”

12                                       DEFENDANTS’ DUTIES

13           27.    By reason of their positions as officers, directors, and/or fiduciaries of SunPower and

14 because of their ability to control the business and corporate affairs of SunPower and its subsidiaries,

15 Defendants owed SunPower and its shareholders fiduciary obligations of good faith, loyalty, and

16 candor, and were and are required to use their utmost ability to control and manage SunPower in a

17 fair, just, honest, and equitable manner. Defendants were and are required to act in furtherance of the

18 best interests of SunPower and its shareholders so as to benefit all shareholders equally and not in
19 furtherance of their personal interest or benefit. Each director and officer of the Company owes to

20 SunPower and its shareholders the fiduciary duty to exercise good faith and diligence in the

21 administration of the affairs of the Company and in the use and preservation of its property and assets,

22 and the highest obligations of fair dealing.

23           28.    Defendants, because of their positions of control and authority as directors and/or

24 officers of SunPower, were able to and did, directly and/or indirectly, exercise control over the

25 wrongful acts complained of herein. Because of their advisory, executive, managerial, and directorial

26 positions with SunPower, each of the Defendants had knowledge of material non-public information
27 regarding the Company.

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 1          29.    To discharge their duties, the officers and directors of SunPower were required to

 2 exercise reasonable and prudent supervision over the management, policies, practices and controls of

 3 the Company. By virtue of such duties, the officers and directors of SunPower were required to,

 4 among other things:

 5                 a. Exercise good faith to ensure that the affairs of the Company were conducted in

 6                     an efficient, business-like manner so as to make it possible to provide the highest

 7                     quality performance of their business;

 8                 b. Exercise good faith to ensure that the Company was operated in a diligent, honest

 9                     and prudent manner and complied with all applicable federal and state laws, rules,

10                     regulations and requirements, and all contractual obligations, including acting only

11                     within the scope of its legal authority; and

12                 c. When put on notice of problems with the Company’s business practices and

13                     operations, exercise good faith in taking appropriate action to correct the

14                     misconduct and prevent its recurrence.

15          30.    Additionally, the Company’s Code of Business Conduct and Ethics (the “Code of

16 Ethics”), which expressly applies to all Defendants named herein, states the following:

17          All Company Related Personnel are responsible for full, fair, accurate, timely and
18          understandable disclosure in reports and documents that the Company files with, or
            submits to, the U.S. Securities and Exchange Commission and in other public
19          communications made by the Company. Accordingly, it is the responsibility of
            Company Related Personnel to bring promptly, or cause to be brought, to the attention
20          of the Company's Audit Committee, any material information of which he or she may
            become aware that affects the disclosures made by the Company in its public filings,
21          submissions or communications or otherwise assist such persons in fulfilling their and
22          the Company's responsibilities with respect to such public filings, submissions or
            communications. All Company Related Personnel shall promptly bring, or cause to be
23          brought, to the attention of the Audit Committee, any information he or she may have
            concerning (a) significant deficiencies and material weaknesses in the design or
24          operation of the Company's internal control over financial reporting which are
            reasonably likely to adversely affect the Company's ability to record, process,
25
            summarize, and report financial information or (b) any fraud, whether or not material,
26          that involves management or other Company Related Personnel who have a significant
            role in the Company's internal control over financial reporting.
27

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 1         31.     Pursuant to the terms of the Audit Committee’s Charter, the Audit Committee

 2 Defendants were responsible for, inter alia:

 3                 a. Reviewing and discussing with management the financial information to be

 4                    included in the Company’s Annual Report on SEC Form 10-K, including the

 5                    clarity of the disclosures in the financial statements, any major issues as to the

 6                    adequacy of the Company’s internal controls, and any special procedures taken in

 7                    light of material control deficiencies;

 8                 b. Reviewing and discussing with management the quarterly financial information to

 9                    be included in the Company’s quarterly reports on Form 10-Q, including the

10                    disclosures under management’s discussion and analysis;

11                 c. Reviewing the Company’s compliance with laws and regulations, including major

12                    legal and regulatory initiatives, and any major litigation or investigations against

13                    the Company that may have a material impact on the Company's financial

14                    statements, including meeting and discussing such matters with management and

15                    others as appropriate, including the General Counsel;

16                 d. Reviewing with the CEO and CFO, the Company’s disclosure controls and

17                    procedures; and

18                 e. Reviewing and assessing the adequacy of, management’s plans for risk control or
19                    mitigation, periodically reporting to the Board the Committee’s assessment and

20                    recommendations, and assisting the Board in its discussions with management

21                    with respect to risk assessment and risk management.

22                                 SUBSTANTIVE ALLEGATIONS

23         A.      Background of the Company and Total’s Control

24         32.     According to its public filings, SunPower is an energy company that delivers solar

25 solutions to residential, commercial, and power plant customers.           The Company’s offerings

26 purportedly include: solar module technology and solar power systems that are designed to generate
27 electricity over a system life typically exceeding 25 years; integrated Smart Energy software

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 1 solutions; installation, construction, and ongoing maintenance, and monitoring services; and

 2 financing solutions that provide customers a variety of options for purchasing or leasing solar

 3 products.

 4          33.     On April 28, 2011, SunPower and Total, a subsidiary of Total S.A., entered into a

 5 Tender Offer Agreement (the “Tender Offer Agreement”). Pursuant to the Tender Offer Agreement,

 6 on June 21, 2011, Total purchased in a cash tender offer approximately 60% of the outstanding shares

 7 of SunPower’s former Class A common stock and 60% of the outstanding shares of SunPower’s

 8 former Class B common stock. Total has owned at least 50% of SunPower common stock since that

 9 time. According to the 2016 Proxy, Total owns 64.23% of SunPower common stock. As such, Total

10 is SunPower’s controlling stockholder.

11          34.     In connection with the Tender Offer, SunPower and Total entered into an Affiliation

12 Agreement that governs the relationship between Total and SunPower following the close of the

13 Tender Offer (the “Affiliation Agreement”).         In accordance with the terms of the Affiliation

14 Agreement, the SunPower Board has nine members, composed of the CEO, three non-Total-

15 designated members of the Board, and five directors designated by Total.

16          B.      Defendants’ False and Misleading Statements Issued During the Relevant Period
17          35.     On February 17, 2016, Defendants caused the Company to issue a press release

18 entitled, “SunPower Reports Fourth Quarter and Fiscal Year 2015 Results.” The press release set
19 forth, in relevant part:

20          SAN JOSE, Calif., February 17, 2016 - SunPower Corp. (NASDAQ: SPWR) today
            announced financial results for its fourth quarter and fiscal year ended Jan. 3, 2016.
21

22

23

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27

28                                                   -9-
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 1     “2015 was a transformational year for the solar industry as increasing demand,
       favorable policy developments and broad global support for renewables created strong
 2     industry growth fundamentals. SunPower benefited from these trends as we exceeded
       our forecasts and closed out the year with record fourth quarter and full year non-
 3     GAAP 2015 results. During the year, we executed on our technology roadmaps, added
       new products and launched our joint YieldCo vehicle 8point3 Energy Partners. We are
 4     well positioned to capitalize on the continued growing adoption of solar in North
       America as well as key international markets such as China and Latin America. We
 5     also expanded our global power plant footprint while completing the world’s largest
       solar power plant, located in California. In distributed generation, we made further
 6     investments in Smart Energy and launched a range of complete customer solutions for
       the commercial market that will significantly reduce cost while improving
 7     performance,” said Tom Werner, SunPower president and CEO. “Upstream, we again
       delivered record output and yield while ramping our new Fab 4 cell manufacturing
 8     facility for volume production in 2016. We made strong progress on our cost reduction
       roadmaps and in the fourth quarter announced the launch of our new lower cost, high
 9     efficiency Performance Series product line which enhances our ability to rapidly
       expand SunPower’s global footprint with significantly lower capital cost.
10
       “In the power plant segment for the fourth quarter, we successfully met our project
11     commitments, added to our pipeline and further built out our U.S. HoldCo asset base,
       improving visibility for drop downs to 8point3 Energy Partners in 2016. Specifically,
12     our 135-megawatt (MW) Quinto project achieved commercial operation during the
       quarter and is now generating energy for 8point3 Energy Partners. Our quarterly power
13     plant segment results benefited from strong Engineering, Procurement and
       Construction (EPC) execution as our 50-MW Hooper project for Xcel was completed
14     a quarter ahead of schedule. We also commenced construction on our 100-MW project
       for NV Energy in Nevada and recently dedicated our second 15-MW project at Nellis
15     Air Force base. Going forward, we see significant upside opportunity in the U.S.
       power plant market as the recent extension of the U.S. federal solar investment tax
16     credit (ITC) provides a sustainable, long term market structure to support further
       growth.
17
       Internationally, we continue to expand our footprint into new markets and recently
18     announced our first project in Mexico, a 36-MW project for Aeropuertos Del Sureste
       (ASUR), a leading airport operator in the country. This power purchase agreement
19     (PPA) is one of the first significant solar PPAs in Mexico and extends our position as
       a leader in international solar development. Construction of this project will begin this
20     year and is expected to be completed in 2017.
21     “We also executed well in our residential business. In North America, our performance
       was solid as our fourth quarter results exceeded plan, we gained market share and
22     broadened our leasing footprint as megawatt installed growth exceeded 45 percent
       year over year. Additionally, based on our fourth quarter bookings, we expect
23     continued strong residential demand in 2016. Finally, we also expanded our utility
       partnership strategy during the quarter as we announced an innovative agreement with
24     TXU Energy to bring SunPower solar solutions to the Texas market.
       In our commercial segment, we are well positioned for 2016, having added projects to
25     our backlog and building our pipeline to over $1 billion. As we announced during the
       quarter, we launched our Helix platform, the world’s first fully-integrated solar
26     solution for commercial customers. Designed for the rooftop, carport and commercial
       ground-mount markets, Helix delivers significantly lower costs and improved
27     reliability while reducing installation times. We are currently shipping our first
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       systems, and interest from both new and existing customers is significant. Finally, we
 1     were pleased to announce that we recently completed our first commercial project drop
       down to 8point3 Energy Partners. This 20-MW project for Kern County School
 2     District consists of 27 carports at various locations across the district and will be
       constructed in three phases with completion scheduled before the end of 2016,”
 3     Werner concluded.
 4     “Solid execution across all segments, along with the ability to leverage our
       development capabilities, enabled us to post record results for the fourth quarter and
 5     2015 fiscal year,” said Chuck Boynton, SunPower CFO. “Our balance sheet remains
       strong as we successfully executed a new convertible bond offering and recently
 6     renewed our revolver including increasing its size to $300 million. With an
       approximately $1 billion cash position and our undrawn revolver, we have the
 7     resources we need to continue our long term growth initiatives. Finally, we prudently
       managed our working capital during the quarter as we improved our performance in a
 8     number of key cash metrics while adding assets to our HoldCo base.”
 9     Fourth quarter and fiscal year 2015 GAAP and non-GAAP results reflect a charge of
       $33 million, or approximately 20 cents on a non-GAAP basis, related to the contracted
10     sale, at current market based rates, of above market priced polysilicon acquired
       through a long term supply agreement.
11
       Additionally, fourth quarter fiscal 2015 non-GAAP results include net adjustments
12     that, in the aggregate, increased non-GAAP net income by $398.0 million, including
       $394.1 million related to 8point3 Energy Partners, $13.1 million related to utility and
13     power plant projects, $2.0 million related to sale of operating lease assets, $16.5
       million related to stock-based compensation expense, $1.7 million related to the
14     8point3 Energy Partners initial public offering, and $3.3 million related to other
       adjustments, offset by $32.7 million related to tax effect.
15
       Financial Outlook
16     Given strong global demand as well as a favorable policy environment, the company
       remains very confident that it can achieve its long term strategic and financial goals
17     by leveraging its flexible business model to drive sustainable growth. With the recent
       extension of the ITC, the company anticipates increasing its investment in the United
18     States while maintaining its global go-to-market focus.
19     The company’s fourth quarter financial results reflected a shift of approximately $65
       million in EBITDA originally forecasted to be recognized in fiscal year 2016. This
20     shift was primarily due to earlier than forecasted project completions in power plants,
       accelerated recognition of residential leases and earlier than anticipated benefits
21     related to 8point3 Energy Partners. As a result of this approximately $65 million
       EBITDA shift, the company now expects 2016 EBITDA to be in the range of $450
22     million to $500 million compared to previous guidance of $515 million to $565
       million. For 2017, the company believes that with the ITC extension, further
23     investment in the U.S. market and a strong global project pipeline, it is well positioned
       to sustainably grow its EBITDA.
24
       For fiscal year 2016, the company’s non-GAAP expectations are as follows: revenue
25     of $3.2 billion to $3.4 billion, gross margin of 14 percent to 16 percent, capital
       expenditures of $210 million to $240 million and gigawatts deployed in the range of
26     1.7 GW to 2.0 GW. On a GAAP basis, the company expects 2016 revenue of $2.2
       billion to $2.4 billion, gross margin of 17 percent to 19 percent and net income of $0
27

28                                              - 11 -
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           million to $50 million. Fiscal year 2016 GAAP guidance includes the impact of the
 1         company’s HoldCo strategy and deferrals due to real estate accounting.
 2         The company’s first quarter fiscal 2016 non-GAAP guidance is as follows: revenue of
           $290 million to $340 million, gross margin of 12 percent to 13 percent, EBITDA of
 3         $0 to $25 million and megawatts deployed in the range of 315 MW to 340 MW. On a
           GAAP basis, the company expects revenue of $280 million to $330 million, gross
 4         margin of 11 percent to 12 percent and net loss of $115 million to $90 million. First
           quarter 2016 GAAP guidance includes the impact of the company’s HoldCo strategy
 5         and deferrals due to real estate accounting.
 6         36.    On February 19, 2016, Defendants caused SunPower to file its Annual Report with the

 7 SEC on Form 10-K for the fiscal year ended January 3, 2016 (the “2015 10-K”). The Company’s

 8 2015 10-K was signed by defendants Werner and Boynton, while defendants Chaperon, Clement,

 9 Giorno, Lesjak, McDaniel, de Wendel and Wood authorized defendant Boynton through his Power

10 of Attorney sign the 2015 10-K on their behalf. Thus, for all intents and purposes, the 2015 10-K

11 was signed by defendants Werner, Boynton, Chaperon, Clement, Giorno, Lesjak, McDaniel, de

12 Wendel and Wood. The 2015 10-K reaffirmed the Company’s financial results announced in the

13 press release issued on February 17, 2016. In addition, the 2015 10-K contained certifications

14 pursuant to the Sarbanes-Oxley Act of 2002 (“SOX Certifications”), signed by defendants Werner

15 and Boynton, which set forth:

16         I, [Thomas H. Werner/Charles D. Boynton], certify that:
17         1.     I have reviewed this Annual Report on Form 10-K of SunPower Corporation;
18         2.       Based on my knowledge, this report does not contain any untrue statement of
           a material fact or omit to state a material fact necessary to make the statements made,
19         in light of the circumstances under which such statements were made, not misleading
           with respect to the period covered by this report;
20
           3.     Based on my knowledge, the financial statements, and other financial
21         information included in this report, fairly present in all material respects the financial
           condition, results of operations and cash flows of the registrant as of, and for, the
22         periods presented in this report;
23         4.     The registrant's other certifying officer(s) and I are responsible for establishing
           and maintaining disclosure controls and procedures (as defined in Exchange Act Rules
24         13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in
           Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and have:
25
                  (a)    Designed such disclosure controls and procedures, or caused such
26                disclosure controls and procedures to be designed under our supervision, to
                  ensure that material information relating to the registrant, including its
27                consolidated subsidiaries, is made known to us by others within those entities,
28                                                   - 12 -
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                   particularly during the period in which this report is being prepared;
 1
                   (b)     Designed such internal control over financial reporting, or caused such
 2                 internal control over financial reporting to be designed under our supervision,
                   to provide reasonable assurance regarding the reliability of financial reporting
 3                 and the preparation of financial statements for external purposes in accordance
                   with generally accepted accounting principles;
 4
                   (c)     Evaluated the effectiveness of the registrant's disclosure controls and
 5                 procedures and presented in this report our conclusions about the effectiveness
                   of the disclosure controls and procedures, as of the end of the period covered
 6                 by this report based on such evaluation; and
 7                 (d)     Disclosed in this report any change in the registrant's internal control
                   over financial reporting that occurred during the registrant's most recent fiscal
 8                 quarter (the registrant's fourth fiscal quarter in the case of an annual report) that
                   has materially affected, or is reasonably likely to materially affect, the
 9                 registrant's internal control over financial reporting; and
10          5.     The registrant's other certifying officer(s) and I have disclosed, based on our
            most recent evaluation of internal control over financial reporting, to the registrant's
11          auditors and the audit committee of the registrant's board of directors (or persons
            performing the equivalent functions):
12
                   (a)     All significant deficiencies and material weaknesses in the design or
13                 operation of internal control over financial reporting which are reasonably
                   likely to adversely affect the registrant's ability to record, process, summarize
14                 and report financial information; and
15                 (b)     Any fraud, whether or not material, that involves management or other
                   employees who have a significant role in the registrant's internal control over
16                 financial reporting.
17                                              *       *       *
18          In connection with the Annual Report of SunPower Corporation (the “Company”) on
            Form 10-K for the period ended January 3, 2016 as filed with the Securities and
19          Exchange Commission on the date hereof (the “Report”), each of Thomas H. Werner
            and Charles D. Boynton certifies, pursuant to 18 U.S.C. Section 1350, as adopted
20          pursuant to Section 906 of the Sarbanes-Oxley Act of 2002, that, to the best of his
            knowledge and belief: (1) The Report fully complies with the requirements of Section
21          13(a) or 15(d) of the Securities Exchange Act of 1934; and (2) The information
            contained in the Report fairly presents, in all material respects, the financial condition
22          and results of operations of the Company.
23          37.    On May 5, 2016, Defendants caused the Company issued a press release entitled

24 “SunPower Reports First Quarter 2016 Results.” The press release set forth, in relevant part:

25          SAN JOSE, Calif., May 5, 2016 - SunPower Corp. (NASDAQ: SPWR) today
            announced financial results for its first fiscal quarter ended Apr. 3, 2016.
26
27

28                                                    - 13 -
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 1

 2

 3

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 7
       “Our first quarter results reflect solid execution against our long term strategy,” said
 8
       Tom Werner, SunPower president and CEO. “With the recent launch of our Helix™
       and SunPower Equinox™ complete solutions for the commercial and residential
 9     markets respectively, we are now in a position to offer standardized plug and play
       solutions across all primary solar applications from large scalepower plants to
10     individual homes and businesses. This positions SunPower very well to facilitate the
       adoption of solar power as a mainstream energy technology.
11
       In our upstream solar cell and panel manufacturing operations, we delivered strong
12     yields and record panel output, and we continue to ramp volume at our new Fab 4 cell
       manufacturing facility. During the quarter, we also began commercial shipments of
13     our new, lower cost, high efficiency Performance Series panel product line and we are
       on track to ramp volume significantly starting in the third quarter.
14
       “In our power plant business, consistent with our strong, historical delivery execution,
15
       we continued construction on a number of key U.S. projects slated for completion
       during the second half of 2016, including our 100-megawatt (MW) project for NV
16     Energy, the 102-MW Henrietta power plant and our 68-MW project for Stanford
       University. Additionally, we achieved commercial operation on our 50-MW Hooper
17     project for Xcel Energy, a project currently owned by 8point3 Energy Partners.
       SunPower also achieved notable international success during the first quarter when we
18     were awarded approximately 500-MW of power purchase agreements in Mexico’s
       first electricity auction. This award comprised approximately 25 percent of the
19     awarded solar capacity, or around 20 percent of the entire awarded energy across all
       resources, and demonstrates the increasing cost competitiveness of wholesale solar
20     power versus competing technologies.
21     We also expect to begin construction of our second solar power plant project in Chile
       later this year with a capacity of approximately 100-MW. With a pipeline of more than
22     2.5 gigawatts (GW) in Latin America and more than 14-GW globally, we see
       significant long term opportunity in the power plant segment.
23
       “Our residential business continued its strong performance as we met or exceeded our
24     quarterly goals across all regions. In North America, we grew recognized megawatts
       by more than 50 percent year over year, gained market share, and launched our
25     SunPower Equinox complete residential solution in the U.S. We believe this fully
       integrated product generates up to 70 percent more lifetime energy with 70 percent
26     fewer visible components compared with a conventional residential system, while
       reducing installation time and improving quality and aesthetics. We also added a key
27     residential channel partnership during the quarter including an exclusive co-marketing
28                                              - 14 -
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            agreement with AT&T. With solid residential industry fundamentals, particularly in
 1          the U.S, we expect continued strong performance in this segment during 2016.
 2          “We also made significant progress in our commercial business during the quarter,
            adding projects to our pipeline which stands over $1 billion. The rollout of our new
 3          Helix platform is going very well as we installed our first commercial system during
            the quarter. As a result, we expect to double our commercial market share in the U.S.
 4          this year. Internationally, we also had a significant win in Japan during the quarter,
            where we booked a 17-MW supply contract with a leading Japanese commercial
 5          rooftop project developer,” Werner concluded.
 6          “Overall, we executed well in the first quarter as we achieved our development targets
            and saw solid performance across our segments,” said Chuck Boynton, SunPower
 7          CFO. “We continued to add to our HoldCo asset base with a number of large projects
            scheduled for completion in the second half of the year. We exited the quarter with a
 8          strong balance sheet including significant liquidity through our $300 million revolver,
            which remains undrawn. In addition, we were pleased to close our most recent
 9          financing, a $200 million construction revolver that will be used to finance our
            anticipated growth, primarily in the commercial sector.”
10
            Additionally, first quarter fiscal 2016 non-GAAP results include net adjustments that,
11          in the aggregate, decreased non-GAAP net loss by $44.2 million, including $10.7
            million related to 8point3 Energy Partners, $3.6 million related to utility and power
12          plant projects, $3.1 million related to sale of operating lease assets, $16.5 million
            related to stock-based compensation expense, $8.6 million related to other
13          adjustments, and $1.7 million related to tax effect.
14          Financial Outlook
            The company’s second quarter fiscal 2016 non-GAAP guidance is as follows: revenue
15          of $310 million to $360 million, gross margin of 12 percent to 14 percent, EBITDA of
            $0 to $25 million and megawatts deployed in the range of 360 MW to 385 MW. On a
16          GAAP basis, the company expects revenue of $290 million to $340 million, gross
            margin of 10 percent to 12 percent and net loss of $90 million to $65 million. Second
17          quarter 2016 GAAP guidance includes the impact of the company’s HoldCo asset
            strategy and revenue and timing deferrals due to real estate accounting.
18          For fiscal year 2016, the company’s non-GAAP financial guidance is unchanged. Non-
            GAAP expectations are as follows: revenue of $3.2 billion to $3.4 billion, gross margin
19          of 14 percent to 16 percent, EBITDA of $450 million to $500 million, capital
            expenditures of $210 million to $260 million and gigawatts deployed in the range of
20          1.6 GW to 1.9 GW.
21          On a GAAP basis, the company now expects 2016 revenue of $2.8 billion to $3.0
            billion, gross margin of 13 percent to 15 percent and net income of $0 million to $50
22          million. Fiscal year 2016 GAAP guidance includes the impact of the company’s
            HoldCo asset strategy and revenue and timing deferrals due to real estate accounting.
23
            38.    On May 6, 2016, Defendants caused SunPower to file its Quarterly Report with the
24
     SEC on Form 10-Q for the fiscal quarter ended April 3, 2016. The Company’s Form 10-Q was signed
25
     by defendant Boynton, and reaffirmed the Company’s financial results previously announced on May
26
     5, 2016. The Form 10-Q also contained SOX Certifications signed by defendants Werner and
27

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 1 Boynton, which were substantially similar to those set forth above.

 2          39.     The above statements by Defendants were materially false and/or misleading, as well

 3 as failed to disclose material adverse facts about the Company’s business, operations, and prospects.

 4 Specifically, these statements were false and/or misleading statements and/or failed to disclose: (1)

 5 that under Defendants’ direction and on their watch, a substantial number of the Company’s

 6 customers were adopting a longer-term timeline for project completion; (2) that the Company’s near-

 7 term economic returns were deteriorating due to aggressive PPA pricing by new market entrants; (3)

 8 that market disruption in the YieldCo environment was impacting the Company’s assumptions related

 9 to monetizing deferred profits; (4) that, as such, demand for the Company’s products was significantly

10 declining; (5) that, in response, Defendants would cause the Company to implement a manufacturing

11 realignment that would result in significant restructuring charges; (6) that, as such, Defendants caused

12 the Company’s fiscal year 2016 guidance to be overstated; and (7) that, as a result of the foregoing,

13 Defendants’ statements about SunPower’s business, operations, and prospects, were false and

14 misleading and/or lacked a reasonable basis.

15          C.      The Truth Finally Emerges

16          40.     On August 9, 2016, Defendants caused SunPower to issue a press release announcing

17 its second quarter 2016 financial results. Therein, Defendants identified multiple factors negatively

18 impacting the Company’s performance and forecasts for the second half of 2016:
19          [W]e see a number of near-term industry challenges, primarily in our power plant
            segment, that we expect to impact our business and financial performance in the
20          second half of 2016. The extension of the Investment Tax Credit, as well as the bonus
            depreciation credit, while beneficial to the long-term health of the industry, has
21          reduced the urgency to complete new solar projects by the end of 2016, with many
            customers adopting a longer-term timeline for project completion. Additionally, near-
22          term economic returns have deteriorated due to aggressive PPA pricing by new market
            entrants, including a number of large, global independent power companies. We are
23          also seeing customer project IRRs rising in the near term as buyers have increased
            their hurdle rates due to industry conditions. Finally, the continued market disruption
24          in the YieldCo environment has impacted our assumptions related to monetizing
            deferred profits.
25
            41.     In response, Defendants also announced a manufacturing realignment:
26
            Additionally, we are realigning our manufacturing operations to increase the relative
27          mix of X-Series capacity due to expected strong customer demand in our DG business
28                                                   - 16 -
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             as well as adjusting our panel assembly capacity to be closer to our core markets. We
 1           plan to utilize equipment from some of our older solar cell manufacturing lines in Fab
             2 to debottleneck capacity of our latest generation technology in order to increase the
 2           supply of X-Series panels. These initiatives will enable us to increase X-Series output
             by up to 100 MW by the end of 2017. Additionally, in connection with the realignment
 3           of our power plant segment principally around our core markets, we have made the
             decision to close our Philippine panel assembly facility and transfer the equipment to
 4           our latest generation, lower cost facilities in Mexico. This change will optimize our
             supply chain and move final panel assembly closer to our key markets.
 5
                                            *       *            *
 6
             As a result of the announced realignment, the company expects the following:
 7
            Workforce reduction of approximately 15 percent or 1,200 employees, primarily
 8           related to its Philippine facility closure
            Restructuring charges totaling $30-$45 million
 9          Substantial portion of charges to be incurred in the third quarter of 2016 with more
             than 50 percent of the total charges to be cash
10          Annual operating expense reductions of approximately 10 percent
11           42.    Finally, Defendants announced that as a result of the “challenges” described above,

12 they were negatively revising the Company’s fiscal year 2016 guidance:

13           Financial Outlook
             As a result of the challenges described above, the company is updating its previously
14           disclosed fiscal year 2016 guidance, as well as providing selected forecasts for fiscal
             year 2017.
15
             On a GAAP basis, the company now expects 2016 revenue of $2.8 billion to $3.0
16           billion, gross margin of 9.5 percent to 11.5 percent and net loss of $175 million to
             $125 million. Fiscal year 2016 GAAP guidance includes the impact of the company’s
17           HoldCo asset strategy and revenue and timing deferrals due to real estate accounting.
18           The company’s updated 2016 non-GAAP financial guidance is as follows: revenue of
             $3.0 billion to $3.2 billion, gross margin of 10.5 percent to 12.5 percent, EBITDA of
19           $275 million to $325 million, capital expenditures of $225 million to $245 million and
             gigawatts deployed in the range of 1.45 GW to 1.65 GW.
20
             For 2017, the company expects a GAAP net loss of $200 million to $100 million and
21           EBITDA in the range of $300 million to $400 million. The company expects that at
             the lower end of the guidance range, 2017 EBITDA would be generated almost
22           entirely from the company’s DG business and believes that with the announced
             realignment, it will be well positioned to capitalize on the long term growth potential
23           in the global power plant market.
24           The company’s third quarter fiscal 2016 GAAP guidance is as follows: revenue of
             $700 million to $800 million, gross margin of 14.5 percent to 16.5 percent and net loss
25           of $5 million to net income of $20 million. Third quarter 2016 GAAP guidance
             includes the impact of the company’s HoldCo asset strategy and revenue and timing
26           deferrals due to real estate accounting. On a non-GAAP basis, the company expects
             revenue of $750 million to $850 million, gross margin of 16.5 percent to 18.5 percent,
27           EBITDA of $115 million to $140 million and megawatts deployed in the range of 380
28                                                      - 17 -
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            MW to 420 MW.
 1
            43.     During SunPower’s August 9, 2016 earnings conference call, a securities broker
 2
     bluntly asked defendant Werner about the startling financial revisions:
 3
            Tom… my first question is how quickly did you guys know this, because people are
 4
            going to walk away and say, everything was hunky-dory in the first couple of months
 5          of the year and all of a sudden about-face and now it’s bad. And so I want to understand
            how quickly you knew this, so that people don’t walk away and say…Tom is a liar…
 6
            44.     Defendant Werner disclosed only that market developments leading to the Company’s
 7
     financial revision “materialized in May” of 2016.
 8
            45.     On this news, SunPower’s stock price fell $4.47 per share, or 30%, to close at $10.31
 9
     per share on August 10, 2016.
10
            46.     Further, the price of the Company’s stock still has not recovered, and currently trades
11
     below that share price.
12
            47.     Thus, as a result of Defendants’ actions, the Company has suffered damages. These
13
     damages include (but are not limited to) severe loss of reputation and standing, and decimation of the
14
     Company’s stock price.
15
                               DERIVATIVE AND DEMAND ALLEGATIONS
16
            48.     Plaintiff brings this action derivatively in the right and for the benefit SunPower to
17
     redress the breaches of fiduciary duty and other violations of law by Defendants.
18
            49.     Plaintiff will adequately and fairly represent the interests of SunPower and its
19
     shareholders in enforcing and prosecuting its rights.
20
            50.     The Board currently consists of the following nine (9) directors: defendants Werner,
21
     Chaperon, Clément, Giorno, Lauré, Lesjak, McDaniel, de Wendel, and Wood. Plaintiff has not made
22
     any demand on the present Board to institute this action because such a demand would be a futile,
23
     wasteful and useless act, for the reasons that follow.
24
            A.      A Majority of the Board Admittedly Lacks Independence
25
            51.     Demand is admittedly futile because, as set forth below, defendants Werner,
26
     Chaperon, Clément, Giorno, Lauré, and de Wendel (a majority of the Board) are not independent,
27

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 1 which Defendants admit in the Company’s 2016 Proxy. Similarly, the Total Defendants (Chaperon,

 2 Clément, Giorno, Lauré, and de Wendel) were all appointed by the same entity (and hold or held high

 3 ranking positions within that entity), are not independent, and constitute a majority of the Board.

 4          52.    The principal professional occupation of defendant Werner is his employment with

 5 SunPower as its CEO, pursuant to which he receives substantial monetary compensation and other

 6 benefits. In addition, according to the 2016 Proxy, Defendants have admitted that defendant Werner

 7 is not independent. Thus, defendant Werner lacks independence from demonstrably interested

 8 directors, rendering him incapable of impartially considering a demand to commence and vigorously

 9 prosecute this action.

10          53.    Defendant Chaperon lacks independence from defendants Clément, Giorno, Lauré,

11 and de Wendel (i.e., the other Total Defendants) due to his close business and personal relationships

12 with them as a result of (among other things) his role as Senior Vice President of Prospective

13 Analysis, Institutional Relations and Communications for the New Energies division of Total S.A. In

14 this role, he has a close business affiliation with defendant Clément, who serves as the Senior Vice

15 President, Business & Operations, of the New Energies division of Total S.A. since July 1, 2012.

16 Defendant Chaperon also has or had until very recently a close business relationship with defendant

17 Giorno, who served as President and CEO of Total New Energies USA until April 2016. Defendant

18 Chaperon also has a close business relationship with defendant Lauré, due to his role as President and
19 CEO of Total New Energies USA Inc. Finally, defendant Chaperon has a close business relationship

20 with defendant de Wendel due to his role as Treasurer of the Total group. In addition, according to

21 the 2016 Proxy, Defendants have admitted that defendant Chaperon is not independent. As a result

22 of these intertwined business relationships and Defendants’ own admissions, defendant Chaperon

23 would be unable to impartially consider a demand to prosecute this action against the other Total

24 Defendants.

25          54.    Defendant Clément lacks independence from defendants Chaperon, Giorno, Lauré,

26 and de Wendel (i.e., the other Total Defendants) due to his close business and personal relationships
27 with them as a result of (among other things) his role as Senior Vice President, Business & Operations,

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 1 of the New Energies division of Total S.A. since July 1, 2012. Specifically, defendant Clément lacks

 2 independence from defendant Chaperon due to the close business relationship as a result of defendant

 3 Chaperon’s role as Senior Vice President of Prospective Analysis, Institutional Relations and

 4 Communications for the New Energies division of Total S.A. Defendant Clément also has a close

 5 business relationship defendant Giorno, who served as President and CEO of Total New Energies

 6 USA until April 2016, and thus lacks independence from defendant Giorno. Further, defendant

 7 Clément lacks independence from defendant Lauré, due to his role as President and CEO of Total

 8 New Energies USA Inc. Finally, defendant Clément has a close business relationship with defendant

 9 de Wendel due to his role as Treasurer of the Total group. In addition, according to the 2016 Proxy,

10 Defendants have admitted that defendant Clément is not independent. As a result of these intertwined

11 business relationships and Defendants’ own admissions, defendant Clément would be unable to

12 impartially consider a demand to prosecute this action against the other Total Defendants.

13          55.    Defendant Giorno lacks independence from defendants Chaperon, Clément, Lauré,

14 and de Wendel (i.e., the other Total Defendants) due to his close personal and business relationships

15 with them as a result of (among other things) his role as President and CEO of Total New Energies

16 USA until April 2016. In this role, he had a close business affiliation with defendant Clément, who

17 serves as the Senior Vice President, Business & Operations, of the New Energies division of Total

18 S.A. since July 1, 2012. Defendant Giorno also had a close business relationship with defendant
19 Chaperon in connection with his role as Senior Vice President of Prospective Analysis, Institutional

20 Relations and Communications for the New Energies division of Total S.A. Defendant Giorno also

21 has or had a close business relationship with defendant Lauré, due to his role as President and CEO

22 of Total New Energies USA Inc. Finally, defendant Giorno had a close business relationship with

23 defendant de Wendel due to his role as Treasurer of the Total group. In addition, according to the

24 2016 Proxy, Defendants have admitted that defendant Giorno is not independent. As a result of these

25 intertwined business relationships and Defendants’ own admissions, defendant Giorno would be

26 unable to impartially consider a demand to prosecute this action against the other Total Defendants.
27          56.    Defendant Lauré lacks independence from defendants Chaperon, Clément, Giorno,

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 1 and de Wendel (i.e., the other Total Defendants) as a result of (among other things) his role as

 2 President and CEO of Total New Energies USA Inc., and would be unable to impartially consider a

 3 demand against the other Total Defendants. In this role, he has a close business affiliation with

 4 defendant Clément, who serves as the Senior Vice President, Business & Operations, of the New

 5 Energies division of Total S.A. since July 1, 2012. Defendant Lauré also as a close business

 6 relationship with defendant Giorno, who served as President and CEO of Total New Energies USA

 7 until April 2016. Defendant Lauré also has a close business relationship with defendant Chaperon,

 8 due to his role as Senior Vice President of Prospective Analysis, Institutional Relations and

 9 Communications for the New Energies division of Total S.A. Finally, defendant Lauré has a close

10 business relationship with defendant de Wendel due to his role as Treasurer of the Total group. In

11 addition, according to the 2016 Proxy, Defendants have admitted that defendant Lauré is not

12 independent. As a result of these intertwined business relationships and Defendants’ own admissions,

13 defendant Lauré would be unable to impartially consider a demand to prosecute this action against

14 the other Total Defendants.

15          57.    Defendant de Wendel lacks independence from defendants Chaperon, Clément,

16 Giorno and Lauré (i.e., the other Total Defendants) as a result of (among other things) his role as

17 Total group Treasurer. In this role, he has a close business affiliation with defendant Clément, who

18 serves as the Senior Vice President, Business & Operations, of the New Energies division of Total
19 S.A. since July 1, 2012. Defendant de Wendel also as a close business relationship with defendant

20 Giorno, who served as President and CEO of Total New Energies USA until April 2016. Defendant

21 de Wendel also has a close business relationship with defendant Chaperon, due to his role as Senior

22 Vice President of Prospective Analysis, Institutional Relations and Communications for the New

23 Energies division of Total S.A. Finally, defendant de Wendel has a close business relationship with

24 defendant Chaperon due to his role as Senior Vice President of Prospective Analysis, Institutional

25 Relations and Communications for the New Energies division of Total S.A. In addition, according

26 to the 2016 Proxy, Defendants have admitted that defendant de Wendel is not independent.       As a
27 result of these intertwined business relationships and Defendants’ own admissions, defendant de

28                                                 - 21 -
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 1 Wendel would be unable to impartially consider a demand to prosecute this action against the other

 2 Total Defendants.

 3          B.     Other Reasons Demand is Futile

 4          58.    Defendants Werner, Chaperon, Clément, Giorno, Lauré, Lesjak, McDaniel, de

 5 Wendel, and Wood (i.e., the entire Board) served as directors of the Company during some or all of

 6 the wrongdoing alleged herein, and each faces a substantial likelihood of liability for their

 7 participation in the illicit acts alleged herein. The statements and actions regarding the Company’s

 8 operations and financial guidance and omissions with respect to the impending manufacturing

 9 realignment (as set forth herein) that defendants Werner, Chaperon, Clément, Giorno, Lauré, Lesjak,

10 McDaniel, de Wendel, and Wood caused or allowed to be made repeatedly during the Relevant Period

11 were an integral aspect of the Company’s core operations. It was these very actions and statements

12 made and/or caused or allowed to be made by defendants Werner, Chaperon, Clément, Giorno, Lauré,

13 Lesjak, McDaniel, de Wendel, and Wood that caused the Company to suffer severe reputational harm,

14 as set forth herein. This was in violation of (among other things) these Defendants’ fiduciary duties

15 of good faith and loyalty, as well as the Code of Ethics. Thus, defendants Werner, Chaperon,

16 Clément, Giorno, Lauré, Lesjak, McDaniel, de Wendel, and Wood (the entire Board) each faces a

17 substantial likelihood of liability for their acts in connection with these actions and statements,

18 rendering a demand upon them futile.
19          59.    During the Relevant Period, defendants Lesjak, McDaniel and Wood served as

20 members of the Audit Committee. Pursuant to the Audit Committee Charter, the members of the

21 Audit Committee were and are responsible for, inter alia, reviewing the Company’s annual and

22 quarterly financial reports, reviewing the integrity of the Company’s internal controls, and ensuring

23 that the Company was in compliance with legal and regulatory requirements (and the Code of Ethics).

24 Defendants Lesjak, McDaniel and Wood breached their fiduciary duties of due care, loyalty, and good

25 faith, because the Audit Committee, inter alia, allowed or permitted the Company to disseminate

26 false and misleading statements in the Company’s SEC filings and other disclosures, caused the
27 above-discussed internal control failures, and caused or allowed the illicit activity described herein.

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 1 Therefore, defendants Lesjak, McDaniel and Wood face a substantial likelihood of liability for their

 2 breach of fiduciary duties, and any demand upon them is futile.

 3            60.   Defendants Werner, Chaperon, Clement, Giorno, Lesjak, McDaniel, de Wendel and

 4 Wood (a majority of the Board) each signed (or authorized the signing of) the false and misleading

 5 2015 10-K described herein. The 2015 10-K, signed and authorized by these Defendants, was false

 6 and misleading because it failed to disclose (among other things): (1) that under Defendants’ direction

 7 and on their watch, a substantial number of the Company’s customers were adopting a longer-term

 8 timeline for project completion; (2) that the Company’s near-term economic returns were

 9 deteriorating due to aggressive PPA pricing by new market entrants; (3) that market disruption in the

10 YieldCo environment was impacting the Company’s assumptions related to monetizing deferred

11 profits; (4) that, as such, demand for the Company’s products was significantly declining; and (5)

12 that, in response, Defendants would cause the Company to implement a manufacturing realignment

13 that would result in significant restructuring charges. As a result, defendants Werner, Chaperon,

14 Clement, Giorno, Lesjak, McDaniel, de Wendel and Wood (a majority of the Board) each face a

15 substantial likelihood of liability for their actions described herein, rendering any demand upon them

16 futile.

17                                                COUNT I

18              AGAINST ALL DEFENDANTS FOR BREACH OF FIDUCIARY DUTIES
19            61.   Plaintiff incorporates by reference and realleges each and every allegation set forth

20 above, as though fully set forth herein.

21            62.   As alleged in detail herein, each of the Defendants (and particularly the Audit

22 Committee Defendants) had a duty to ensure that SunPower disseminated accurate, truthful and

23 complete information to its shareholders.

24            63.   Defendants violated their fiduciary duties of care, loyalty, and good faith by causing

25 or allowing the Company to disseminate to SunPower shareholders materially misleading and

26 inaccurate information through, inter alia, SEC filings and other public statements and disclosures as
27 detailed herein. These actions could not have been a good faith exercise of prudent business

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 1 judgment.

 2          64.    As alleged herein, each of the Defendants had a fiduciary duty to, among other things,

 3 ensure that the Company was operated in a lawful manner and to exercise good faith to ensure that

 4 the Company’s financial statements were prepared in accordance with GAAP, and, when put on

 5 notice of problems with the Company’s business practices and operations, exercise good faith in

 6 taking appropriate action to correct the misconduct and prevent its recurrence.

 7          65.    Defendants willfully ignored the obvious and pervasive problems with SunPower’s

 8 internal controls practices and procedures and failed to make a good faith effort to correct the

 9 problems or prevent their recurrence.

10          66.    Defendants’ misconduct alleged herein constituted an abuse of their ability to control

11 and influence SunPower, for which they are legally responsible. In particular, Defendants abused

12 their positions of authority by causing or allowing SunPower to misrepresent material facts regarding

13 its business practices, financial position and business prospects.

14          67.    Defendants had a duty to SunPower and its shareholders to prudently supervise,

15 manage and control the operations, business and internal financial accounting and disclosure controls

16 of SunPower.

17          68.    Defendants, by their actions and by engaging in the wrongdoing described herein,

18 abandoned and abdicated their responsibilities and duties with regard to prudently managing the
19 businesses of SunPower in a manner consistent with the duties imposed upon them by law. By

20 committing the misconduct alleged herein, Defendants breached their duties of due care, diligence

21 and candor in the management and administration of SunPower’s affairs and in the use and

22 preservation of SunPower’s assets.

23          69.    During the course of the discharge of their duties, Defendants knew or recklessly

24 disregarded the unreasonable risks and losses associated with their misconduct, yet Defendants

25 caused SunPower to engage in the scheme complained of herein which they knew had an

26 unreasonable risk of damage to SunPower, thus breaching their duties to the Company. As a result,
27 Defendants grossly mismanaged SunPower.

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 1          70.    As a direct and proximate result of the Defendants’ foregoing breaches of fiduciary

 2 duties, the Company has sustained damages.

 3          71.    As a result of the misconduct alleged herein, Defendants are liable to the Company.

 4          72.    Plaintiff, on behalf of SunPower, has no adequate remedy at law.

 5                                               COUNT II

 6                  AGAINST ALL DEFENDANTS FOR UNJUST ENRICHMENT

 7          73.    Plaintiff incorporates by reference and realleges each and every allegation set forth

 8 above, as though fully set forth herein.

 9          74.    By their wrongful acts and omissions, the Defendants were unjustly enriched at the

10 expense of and to the detriment of SunPower in the form of salaries, bonuses, and other forms of

11 compensation.

12          75.    Plaintiff, as a shareholder and representative of SunPower, seeks restitution from these

13 Defendants, and each of them, and seeks an order of this Court disgorging all profits, benefits and

14 other compensation obtained by these Defendants, and each of them, from their wrongful conduct

15 and fiduciary breaches.

16                                       PRAYER FOR RELIEF

17          WHEREFORE, Plaintiff demands judgment as follows:

18          A.     Against all Defendants and in favor of the Company for the amount of damages
19 sustained by the Company as a result of Defendants’ breaches of fiduciary duties;

20          B.     Directing SunPower to take all necessary actions to reform and improve its corporate

21 governance and internal procedures to comply with applicable laws and to protect the Company and

22 its shareholders from a repeat of the damaging events described herein, including, but not limited to,

23 putting forward for shareholder vote resolutions for amendments to the Company’s By-Laws or

24 Articles of Incorporation and taking such other action as may be necessary to place before

25 shareholders for a vote a proposal to strengthen the Board’s supervision of operations and develop

26 and implement procedures for greater shareholder input into the policies and guidelines of the Board;
27

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